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           EXHIBIT 62
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                            UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA




                                               MDL No. 2741
IN RE: ROUNDUP PRODUCTS
LIABILITY LITIGATION                           Case No. 16-md-02741-VC


This document relates to:
ALL ACTIONS




                       REBUTTAL EXPERT WITNESS REPORT

                                          OF

                                BEATE RITZ, M.D., Ph.D.
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Introduction
       This rebuttal report will address: 1) the draft manuscript[s] of the unpublished
Agricultural Health Study (AHS) dated February 6, 2013 (Exhibit 19A to the deposition
of Dr. Aaron Earl Blair taken March 20, 2017) and March 15, 2013 (Exhibit 19B to the
deposition of Dr. Aaron Earl Blair taken March 20, 2017); 2) epidemiology issues raised
by Defendant’s experts Dr. Lorelei A. Mucci, Dr. Jennifer S. Rider and Dr. William
Fleming; 3) the North American Pooled Project (“NAPP”) study.


The Draft Manuscripts of the Unpublished AHS
       The draft manuscripts of the unpublished AHS provide analyses of 333 NHL
cases within the AHS cohort (DeRoos 2005) that followed individuals from through
December 2008 for cancer incidence. The draft manuscripts also purport to give new
exposure data collected in the second phase interview of the AHS between 1998 and
2004, together with the original data collected at enrollment of the cohort between 1993
and 1997.
       The main problem with these draft AHS manuscripts are the authors’ attempts to
impute and ‘guestimate’ exposure for glyphosate or glyphosate-based formulations
(“GBFs”, including Roundup®). The problems arise because there has been a dramatic
increase in the use of and exposure to glyphosate or GBFs in the mid-1990s (Aspelin and
Grube 2016; Grube et al 2016; Coupe and Capel 2015; Thelin and Stone 2016; Service.
USDoANAS 2016; Benbrook 2015). The authors failed to address this major issue in
their draft manuscripts of unpublished AHS data. While under some, limited
circumstances it is an acceptable epidemiological approach to impute or ‘guestimate’
certain unavailable data, one must be extremely careful when imputing/guestimating a
critical piece of data, such as exposure or outcome of interest. In the case of the draft
AHS manuscripts, the guestimation was conducted to answer the question as to whether
or not the cases and controls were even exposed to the products being studied. In the
instance of the draft AHS manuscripts, the imputation/guestimation failed, in part,
because the draft manuscripts could not accurately account for the major change in the
use of GBFs, including Roundup®. The validity of the results of such an
imputation/guestimation become extremely questionable because when applied, the
study authors need to assume glyphosate/GBF use was based on historical use, and do
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not apply the increased use for any person who did not report their pesticide use, i.e. the
non-responders. Consequently, such imputation/guestimation is unable to fully
contemplate major changes in the professional agricultural environment as seen with
the use of glyphosate/GBFs. Further, this change was not captured in the original
reporting by AHS participants and generates a unique problem for glyphosate/GBFs
compared with all other pesticide exposure assessments performed in this prospective
study. After registration in the U.S. in 1974, glyphosate/GBFs were mainly used to kill
weeds before planting of crops or spraying for weed control in pastures and non-crop
areas, with 6 - 8 million pounds applied by U.S. farmers and ranchers in 1987 [Grube
2016]. The dramatic change in glyphosate/GBF use began in 1996, the first year
genetically engineered, glyphosate -tolerant crops were planted commercially in the U.S.
Specifically, in 1996, Monsanto first introduced genetically engineered, glyphosate
resistant soybeans (Roundup® Ready) to the commercial market, followed by cotton and
canola in 1997, corn in 1998, and alfalfa and sugar beets in 2005. Prior to the
introduction of genetically modified seeds, glyphosate/GBFs accounted for only 3.8% of
the total volume of herbicide active ingredients applied in agriculture, while this
changed to 180–185 million pounds by 2007 [EPA reports; Coupe 2015]. This
substantial increase established glyphosate/GBFs as 53.5% of total agricultural
herbicide use in 2009 according to USGS [Thelin and Stone 2016]; annual farm-sector
glyphosate/GBF usage further increased to approximately 240 million pounds in 2014
[based on average annual crop use reported by the NASS; Service. USDoANAS 2016,
Benbrook 2015. The original AHS enrollment (Dec 1993-Dec 1997) preceded this
tremendous increase in agricultural use of glyphosate/GBFs. Thus, this increase in use
was never captured for members of the AHS cohort who did not respond to follow-up
interviews in phase 2 (1999-2003) or phase 3 (2005-2010) of the AHS, as set forth
below.
         Importantly, the second phase of the AHS was plagued by low response: i.e. it
generated no more than a 64% response rate among AHS cohort members who were
private applicators contacted in 1998-2004 (or a 36% non-response). This is an
extremely low response rate when usage increased this much and this fast (furthermore,
concerning future glyphosate/GBF analyses in AHS, only 46%, less than half, of all
private applicators responded to the third phase 2005-2010 interviews). Thus, one-third
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of all cohort subjects never reported their actual exposures or changes in exposures after
enrolment interviews were conducted, even though use of glyphosate/GBFs started to
change dramatically.
       The AHS researchers knew that such a large non-response rate would raise
questions about the validity of certain results of their study, so they were forced to come
up with a method to address this problem. Otherwise, these studies would be questioned
by peer reviewers and unlikely to be published. The AHS researchers attempted to
address the loss of active participants with a method called ‘imputation’ to avoid having
large amounts of missing exposure data –for those who did not respond – or generating
selection bias (cohort studies may be affected by selection bias due to ‘differential’ loss
to follow-up among the exposed or unexposed cases and controls) (Heltsche, et
al. 2012). The method the authors used was a “data driven imputations of exposures”;
or, in other words, a ‘guestimation’ of what exposures would have been in those who did
not respond and report. This procedure assumes that it is sufficient to use the data in
hand to predict/guestimate all future exposure in AHS participants who did not
respond; i.e. that the past and current exposures and characteristics of the participants
who responded to multiple interviews over time would accurately predict the use of
those who did not respond. For glyphosate/GBFs with a use pattern change as dramatic
as described above, it is a flawed approach to predict who would or would not start using
Roundup® Ready crops after baseline, and likewise to predict the use of
glyphosate/GBFs. This is because this imputation method assumes that those who did
not respond had similar pesticide use and exposure pattern as those who did respond
whether or not they developed NHL (this is called the ‘missing at random assumption’).
This assumption - if wrong - may cause enough exposure misclassification
(undifferential with regard to disease status) for a large proportion of AHS participants
to bias effect estimates towards the null of not finding any associations. An alternative to
imputation for non-responders is to restrict the analyses to include only data from those
cohort members who actually responded. However, this can cause strong selection bias
if the response to the follow-up questionnaires depends on participant characteristics
and health status. This is not an issue for assessing effects for exposures measured at
enrollment on cancer when outcomes are being obtained through linkage with registries
(i.e. cases are almost always found), but it is an issue for assessing effects of time varying
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exposures especially when there are considerable changes in exposure that may affect
future cancer occurrence. It has been stated in published AHS studies that response to
follow-up interviews depended on education and age and on some farming practices
including personal pesticide use and a number of health conditions (see for example
Rinsky, et al. 2017). Methods have been developed to address selection bias and the
most recent paper by Rinsky et al. 2017 for the AHS group addresses the need for bias
correction in the AHS and shows how to implement such methods to assess and correct
this bias in a quantitative manner. This paper concludes that as long as exposure and
disease are not strongly associated with response during follow-up (i.e. to respond to
interviews) resulting bias would be small. However, for bias to be assessed and bias
correction to work, one needs accurate data for exposure as well as variables identified
as predictors of response and disease status. Given that glyphosate/GBF exposure
patterns changed dramatically after enrollment and that updated exposure information
was only available for responders, this method does not work for glyphosate/GBF
exposure in the AHS (in fact the authors state that “farming activities after enrollment
may be strongly associated with response to later interviews”). Possibly severe selection
bias in estimating these time varying glyphosate/GBF exposures cannot be avoided or
corrected in the described way and will continue to affect future glyphosate/GBF
exposure and NHL association studies in the AHS.
       Another important issue relates to the outcome assessment, i.e. the diagnosis of
NHL: how to address the influence of the recent ICD re-classification of NHL subtypes
on the AHS results. The issue of disease classifications becomes apparent when we
examine the Alavanja 2014 paper supplement that shows major changes by
redistributing NHL according to subtypes and newly adding more than 100 cases of
NHL cancers from multiple myeloma and chronic lymphocytic leukemia. Most
importantly, these changes in outcome classification also affect the pesticide exposure
distributions among NHL cases. For example, in the draft manuscript of the
unpublished 2013 AHS study, 173 NHL cases were considered unexposed to DDT (in
dose-response analyses) while only 152 NHL cases in the published 2014 manuscript are
considered unexposed to DDT. But, DDT exposures were assessed with the same
method and same data in both manuscripts; the change between the two papers was the
disease classification used. Importantly, this resulted in increased risk estimates for
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DDT and a statistically significant trend by lifetime years of exposure not seen in the
draft manuscript of the unpublished 2013 AHS (according to the supplemental table of
the published manuscript, a significant trend would not be seen when using the old ICD
classification even though additional years of follow-up added cases (old ICD
classification p-trend=0.32; new ICD classification p trend=0.02). This proves that the
results presented in the draft manuscript of the unpublished AHS are not a good
substitute for glyphosate/GBF exposures related effect estimates with additional follow-
up. Furthermore, it contradicts the statement made by Dr. Mucci in her expert report
that the draft manuscript of the unpublished AHS results from 2013 are good enough to
be included in a meta-analysis; i.e. that: "One minor weakness is that the updated
analysis on glyphosate and other herbicides has not been published to date, although the
findings on insecticides, fungicides, and fumigants were published” and “concern [about
including the results form an unpublished study] is minimized since the methodology is
the same as those studies that have undergone peer review.” (page 35, Mucci). Thus, the
results and conclusions from the draft manuscript of the unpublished 2013 AHS cannot
be considered fit for inclusion into a meta-analysis nor are they of the same quality as
peer-reviewed and published manuscripts that are included in meta-analysis.
       Other reasons for the draft manuscripts of the unpublished 2013 AHS results for
NHL overall, or NHL subtypes with glyphosate/GBF exposures may also relate to the
very high and almost ubiquitous exposure to glyphosate/GBFs in this cohort. Effects for
ubiquitous exposures are difficult or even impossible to estimate since, in order to see
effects, we rely on exposure contrasts (i.e. we need both exposed and unexposed
subjects; or low and high exposures). In other words, when everyone smokes heavily, we
cannot estimate the effect of smoking on lung cancer; or, if the exposure contrast is too
small, it is impossible to estimate an incremental increase in risk for the exposure, i.e.
we need enough of a difference in exposure to see a difference in effect.
       Also, the high frequency of co-exposures in those listed as unexposed to
glyphosate/GBFs might be yet another problem if these co-exposure chemicals indeed
cause NHL. As the 2005 DeRoos paper shows, exposures to potentially carcinogenic
pesticides 2,4 D, alachlor and atrazine were very high among both glyphosate/GBF
exposed and unexposed AHS participants at baseline. If these chemicals indeed cause
NHL, we would expect them to increase the baseline rate of NHL in the glyphosate/GBF
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unexposed such that an incremental increase due to glyphosate/GBF exposure would
require a much larger sample size to be estimable. This is because we are estimating
relative increases in risk of cancer. Now, assume we are interested in estimating the risk
of lung cancer from smoking and find in our population among non-smokers 4 lung
cancers/100,000 and in smokers 20/100,000; we can use these rates to estimate a
(20/4=) 5 fold risk increase for lung cancers due to smoking in this population. Now
imagine that we examine smoking in an occupational cohort of miners and that radon
exposure adds 10 extra cases of lung cancer per 100,000 miners i.e. no matter whether
they smoke. Thus, we would see in non-smoking miners a rate of (10+4 =) 14/100,000
lung cancers (the reference group) to which we compare the rate in smokers of
(10+20=) 30/100,000 and estimate a (30/14=) 2.14-fold increase in risk for smoking
and lung cancer in miners, i.e. a relative risk much smaller than we estimated in non-
miners (5 fold). Statistically, I need less power to be able to estimate a larger relative
risk increase than a smaller one i.e. a 5-fold compared with a 2.14 fold risk increase.
        Finally, as is the case for most farmer focused studies, the AHS has to address
multiple pesticide exposure scenarios and decide whether it is appropriate to adjust for
‘proxies’ i.e. co-exposures that are not risk factors for the outcome but related to the
exposure of interest. This generates the necessity to distinguish between true
confounding co-exposures (pesticides that truly cause NHL and are also associated with
glyphosate exposures) and co-exposures that solely act as ‘proxy measures’ for
glyphosate/GBFs but do not cause NHL. For the latter, one should not adjust since this
would lead to over-adjustment and introduce major bias. There is no analytical or
statistical fix for this problem.



Differences Between the Draft Manuscripts of the Unpublished AHS Data
and the Peer-Reviewed NAPP Study
       There are other problems with the draft manuscripts of the unpublished AHS
data which tend to be typical of a non-peer reviewed unpublished study and clearly
show why we as both academics and epidemiologists do not normally rely upon such
non-peer reviewed unpublished information. As an example, if one looks at page 25 of
the February 6, 2013 draft manuscripts of the unpublished AHS, the authors note in

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footnote two: “Numbers do not sum to totals (333 cases, 714,770 person-years) due to
missing data,” with similar comments about “missing data” on page 27. The missing
data references continue in the draft manuscript dated March 15, 2013 – see e.g. pages
30 and 45. Furthermore, the comments of certain “unknown” authors are equally telling
as to the problems with this draft manuscript of the unpublished AHS. See e.g. page 19
of the March 15, 2013 draft manuscript: “Although this is a large prospective study,
there are limitations…need to add a paragraph of exposure assessment. Discuss the
information on our exposure scale in relation to the monitoring work. Discuss the likely
magnitude of misclassification and its likely impact on the estimates of RR.”
       For the above-stated reasons, it is not appropriate from an epidemiologically
perspective to rely on the data contained in the two draft manuscripts of the
unpublished AHS which I have reviewed, or on its conclusions. Furthermore, as I was an
external advisor for the AHS for more than a decade, I certainly would have pointed out
the above-mentioned significant problems if this data had gotten closer to publication.
My reliance on the NAPP report is appropriate because the data contained in the NAPP
study has been presented at meetings, both in poster and published abstract form, and
thus HAS been peer-reviewed, making reliance on the NAPP appropriate.

Statistical Power and Meta or Pooled Analyses
       I would like to briefly comment on the issue of statistical power, since both
defense experts Drs. Rider and Mucci misrepresented a major issue when discussing
this point or the epidemiology studies in their reports. While the reports are correct in
pointing out that statistical power of a study does not only depend on the number of
cases and controls but – in addition – on exposure prevalence, they failed to
acknowledge or describe a basic fact i.e. that statistical power does not increase linearly
with exposure prevalence. Rather the highest power is generally achieved at a 50:50
split of exposed and unexposed – this is why most clinical treatment trials employ this
type of treatment allocation. In other words, we cannot estimate effects at the extremes
of the exposure distribution i.e. with everyone either exposed or unexposed we cannot
study an exposure. As an example: we cannot estimate the effect of smoking on lung
cancer in a population in which everyone smokes heavily – in such a population one
might have to conclude that lung cancer is a genetic disorder i.e. the only difference

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between cases and controls is their genetic/biologic susceptibility to smoke. Thus, the
ability to estimate effects in a population with either very low or very high exposure is
restricted in terms of statistical power; i.e. it requires more and more subjects to be
enrolled in such studies to estimate an effect for the exposure. The latter is the case in
the AHS study, rather than becoming the ‘statistically most powerful study’ nearly
universal exposure to glyphosate/GBFs will make it impossible to estimate some of its
effects.
       In terms of meta-analysis and pooled analysis, Dr. Rider, in her expert report,
stated that “Given the potential threats to internal validity in the case-control studies, a
meta-analysis that attempts to summarize all of the published data could be misleading.
In addition, the published meta-analyses of glyphosate and NHL do not include the
unpublished data from the AHS or the findings from the NAPP, which plaintiffs’ experts
agree should be incorporated. These studies would effectively reduce the summary effect
estimate in the meta-analyses and render that point estimate no longer statistically
significant [this refers to the Delzell and Chang meta-analysis].” (page 4, Rider). First,
the internal validity issues Dr. Rider attributes to population-based case control studies
are questionable, because: a) recall bias has not been shown to affect pesticide studies,
and is unlikely to affect one specific agent only in studies that assess multiple pesticides;
b) similarly, the issue of confounding control as raised by both defense experts is clearly
out of step with the current thinking in epidemiology. This methodology, used by both
Drs. Rider and Mucci, is not the methodology that is currently accepted by
epidemiologists, especially those who study and analyze complex exposures. For
example, multiple exposures have to be cautiously addressed in terms of what is or isn’t
a risk factor for the outcome or should be considered a confounder. We have to consider
prior knowledge, and just claiming that something is a confounder is not enough.
Rather, the question would be how strong a confounder we would need to change the
results we observe and in what direction this change would be [not all confounding
changes the estimates away from the null]; and what variables would qualify as
confounders (most of the adjustments for a number of moderately strong risk factors
including previous cancer history - in McDuffie et al. – did not change the effect
estimates for the pesticides by much [for example: for dicamba basic adjustment for age
and province resulted in an OR of 1.92 (1.39–2.66) while additional adjustment for all
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other risk factor for NHL including history of cancer resulted in an OR of 1.88 (1.32–
2.68); for Mecoprop basic adjustment for age and province resulted in an OR of 2.23
(1.38–3.07) while additional adjustment for all risk factor for NHL including history of
cancer resulted in an OR of 2.33 (1.58–3.44) – i.e. minimal changes in both directions
towards and away from the null); c) selection bias is not a concern in properly
conducted population-based studies. Furthermore, this issue has been addressed
adequately in the Canadian studies. Even more importantly, the AHS has the potential
for severe selection and exposure misclassification biases due to the necessity of active
follow-up for exposure assessment and time varying exposures, an issue which has not
been addressed in the reports of Dr. Rider or Dr. Mucci. Dr. Rider contradicts herself
and Dr. Mucci when stating that the data summary (meta-analysis) should include the
unpublished studies (AHS and NAPP) since the AHS is a cohort study with a
methodology in design and analysis very different from the case control studies and
hence should be considered on its own merits; while the NAPP study summarizes
previous data that, if included in the meta-analysis without excluding the primary
studies; such an estimate would “double-up” on those studies. Importantly, the
statement that “Any limitations of both the study design and statistical analysis of
included studies carry forward through the results of the meta-analysis” (page 18, Rider)
is only partially correct i.e. this statement assumes that each study has exactly the same
bias and moreover that all are biasing the results in the exact same direction - which is
highly unlikely in practice.


Fleming Report
       As the President Elect of the International Society for Environmental
Epidemiology, a sub-discipline of Epidemiology that specifically concentrates among its
members those with expertise in examining a wide range of spatial and temporal
patterns in exposures and disease, I object strongly to the naïve use of both temporal
cancer rates and spatial cancer patterns in Dr. Fleming’s report in order to draw
conclusions about NHL causes specifically whether or not glyphosate/GBF exposures
cause NHL. Our discipline uses maps and graphs extensive because they are very
important tools for the purpose of visualizing data i.e. to show general patterns of
disease or exposure rates over time and/or space. However, the first thing I teach my
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students in environmental epidemiology is that using these tools to claim that a very
specific exposure (pesticide) does or does not cause a chronic disease is highly
unscientific and unnecessarily invalidates the good use of these tools. For example, the
pretty graphs and maps shown by Dr. Fleming cannot tell us anything about the
influence of the AIDS epidemic over the years on NHL rates or about other time varying
influences. Specifically, if glyphosate/GBFs are not the only agents capable of causing
NHL – which defense experts seems to agree to since they are worried about
confounding risk factors - and we accept that for example DDT and lindane – pesticides
widely used in the 1950 to 70th – may also cause NHL, how could any of these graphs/
maps depict the influence of complex waxing and waning causal exposures over time,
some of them increasing and some decreasing and therefore influencing rates in
different directions? The spatial map by Fleming includes all races and both sexes, thus,
it seems that he assumes that NHL rates in men and women or immigrant Hispanic
laborers in central California can be easily compared with all San Francisco inhabitants
including white males and that factors such the AIDS epidemic can be ignored; i.e. that
we can simply compare age adjusted rates from San Francisco populations to those in
central California populations and deduce whether or not glyphosate/GBF alone is the
single agent causing NHL. Again, this is not only scientifically untenable but simply
wrong.


Conclusion
      I hold the above opinions to a reasonable degree of scientific certainty.
Furthermore, as previously stated in my earlier expert report, I hold the opinion, to a
reasonable degree of scientific certainty that glyphosate and GBFs including Roundup,
cause non-Hodgkin’s lymphoma. I reserve my right to supplement or amend this report
as additional materials become available.




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Beate Ritz, M.D., Ph.D.
Date: August 18, 2017
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Defendant’s Expert Report of Dr. William Fleming

Defendant’s Expert Report Dr. Lorelei A. Mucci,

Defendant’s Expert Report of Dr. Jennifer S. Rider

Exhibits 19A and 19B to Deposition of Dr. Aaron Earl Blair, taken March 20, 2017.




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